            Case 4:99-cr-40099-JPG                     Document 155 Filed 02/17/09                    Page 1 of 2          Page ID
~A0245D                                                          #186
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT                                                        I7(~O
                                                         Southern District of Illinois                      .,. CLEF?    FEB 11 Jnn,.
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                                                                                                                  HEF?N ·S. DiS
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case                 eE~tg~8rF?lb1IcrCo
                              v.                                        (For Revocation of Probation or Supervised Release?tv Of:t:IC°t: ILL~'!"
                ANTWYN WILLIAMS                                                                                                      't=    'yO/s


                                                                        Case No. 4:tHCR40099-002-JPG
                                                                        USM No. 04989-025
                                                                          Judith A. Kuenneke, AFPD
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          as alleged below         of the tenn of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                            Violation Ended
Statutory                          The defendant illegally possessed marijuana                               06/03/2008




       The defendant is sentenced as provided in pages 2 through              2     of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5252                      02/06/2009

Defendant' s Year of Birth:          1973

City and State of Defendant's Residence:
Charleston, MO

                                                                          ~                    Name and Title of Judge

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               Case 4:99-cr-40099-JPG                      Document 155 Filed 02/17/09              Page 2 of 2          Page ID
 AO 245D                                                             #187
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                  Judgment - Page   _.;...2_ of    2
 DEFENDANT: ANT\I\IYN WILLIAMS
 CASE NUMBER: 4:~9'CR40099-002-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total tenn of :
60 months (See attached Memorandum)




       D The court makes the following recommendations to the Bureau of Prisons:




       "   The defendant is remanded to the custody of the United States Marshal.

       D   The defendant shall surrender to the United States Marshal for this district:
           D     at   _________ D                          a.m.      D    p.m.    on
           D     as notified by the United States Marshal.

       D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
